            Case 2:20-cv-00993-RSL Document 46 Filed 09/30/20 Page 1 of 5




 1

 2

 3

 4

 5                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WASHINGTON
 6
     U.S. BANK NATIONAL
 7                                       Case No. 2:20-cv-00993-RSL
     ASSOCIATION,
 8
                       Interpleader      STIPULATED MOTION AND ORDER FOR
 9                     Plaintiff,        DEPOSIT AND DISCHARGE

10   v.
11   QUARTZBURG GOLD, LP; IDAHO
     STATE REGIONAL CENTER, LLC;
12
     YING LIN; YUN HUANG; YUNTIAN
13   DENG; WEIWEI YAN; WEICHENG LI;
     ZHAO WANG; BIN LIU; DAGANG
14   WANG; DECHUN LI; CHUNJIE LI;
     HUA ZHANG; JUN JI; JINDONG HU;
15   YU WANG; CHIUNG-MING CHEN;
     YUE GU; MENGJIE SHI; FEIBING
16
     ZHU; and JUNG-TING HSIEH,
17
                       Interpleader
18                     Defendants.

19

20

21

22

23

24

25

26

27
     STIPULATED MOTION FOR
     DEPOSIT AND DISCHARGE                            DORSEY & WHITNEY LLP
                                                       701 FIFTH AVENUE, SUITE 6100
     No. 2:20-cv-00993                                   SEATTLE, WA 98104-7043
                                                           PHONE: (206) 903-8800
                                                           FAX: (206) 903-8820
                 Case 2:20-cv-00993-RSL Document 46 Filed 09/30/20 Page 2 of 5




 1                                            STIPULATION

 2          Interpleader Plaintiff U.S. Bank National Association (“U.S. Bank”) and Interpleader

 3 Defendants Quartzburg Gold, LP (“Quartzburg”), Idaho State Regional Center, LLC (“ISRC”),

 4 Ying Lin, and Yun Huang, who are all parties who have appeared in this action (collectively, the

 5 “Parties”), hereby stipulate and agree as follows:

 6          1.       An escrow account, account number x6000 (“Escrow Account”) was opened at

 7 U.S. Bank pursuant to a Master Escrow Agreement executed by U.S. Bank, Quartzburg, and ISRC

 8 dated as of April 16, 2012.

 9          2.       In 2012 and 2013, funds were deposited into the Escrow Account by numerous

10 foreign residents in connection with a limited partnership offering by Quartzburg. Most of the

11 funds deposited into the Escrow Account were subsequently disbursed from the Escrow Account.

12          3.       Deposits totaling $501,116 remain in the Escrow Account (the “Interpleader

13 Funds”).

14          4.       The Interpleader Defendants have asserted competing claims over the Interpleader

15 Funds.

16          5.       U.S. Bank takes no position on and is unable to adjudicate the conflicting claims of

17 the Interpleader Defendants with respect to the Interpleader Funds. U.S. Bank has accordingly

18 brought this interpleader action to resolve the Interpleader Defendants’ competing claims over the

19 Interpleader Funds.

20          6.       U.S. Bank claims no interest in the Interpleader Funds, other than claiming a right

21 to recover the costs and reasonable attorneys’ fees associated with this interpleader action. As of

22 the filing of this Stipulation, U.S. Bank’s counsel has represented that U.S. Bank has incurred total

23 costs and fees associated with this interpleader action in the range of $20,000, including amounts

24 associated with service efforts.

25          7.       Since the filing of the Interpleader Complaint in June 2020, U.S. Bank has made

26 substantial efforts to serve and notify all Interpleader Defendants of this action. See Declaration

27 of Troy Wambold and Declaration of Wendy Feng, filed concurrently herewith. As of the filing
     STIPULATED MOTION FOR
     DEPOSIT AND DISCHARGE                          1                DORSEY & WHITNEY LLP
                                                                       701 FIFTH AVENUE, SUITE 6100
     No. 2:20-cv-00993                                                   SEATTLE, WA 98104-7043
                                                                           PHONE: (206) 903-8800
                                                                           FAX: (206) 903-8820
                 Case 2:20-cv-00993-RSL Document 46 Filed 09/30/20 Page 3 of 5




 1 of this Stipulation, Interpleader Defendants Quartzburg, ISRC, Ying Lin, and Yun Huang are the

 2 only Interpleader Defendants to appear. None of the other Interpleader Defendants have stated

 3 any intention to appear or to participate in this action in any way.

 4          8.       Based upon the foregoing, and in the interest of furthering an efficient resolution of

 5 this dispute and avoiding the Parties incurring potentially unnecessary burdens and expenses, the

 6 Parties have stipulated and agreed as follows:

 7                      a. That U.S. Bank be awarded and granted leave to withdraw from the

 8                          Interpleader Funds in the Escrow Account a portion of its fees and costs

 9                          associated with this interpleader action, limited to a total amount of

10                          $10,000;

11                      b. That U.S. Bank be granted leave to deposit the remaining $491,116 in

12                          Interpleader Funds into the registry of the Court; and

13                      c. That U.S. Bank be discharged from any and all liability associated with the

14                          Interpleader Funds, and dismissed from this action with prejudice and

15                          without an award of fees or costs to any other party.

16          9.       The Parties stipulate and agree that there is good cause for seeking the requested

17 relief on the grounds of efficiency for the Parties and the Court. The requested relief will facilitate

18 and expedite the resolution of the Interpleader Defendants’ dispute over the Interpleader Funds,

19 maximize the amount of Interpleader Funds available for resolution of that dispute, and avoid the

20 Parties incurring additional unnecessary expenses in connection with U.S. Bank depositing the

21 Interpleader Funds and being discharged from this action.

22          For these reasons, the Parties hereto stipulate and agree to, and respectfully and jointly

23 request entry of, the Order set forth below.

24

25

26

27
     STIPULATED MOTION FOR
     DEPOSIT AND DISCHARGE                           2                 DORSEY & WHITNEY LLP
                                                                         701 FIFTH AVENUE, SUITE 6100
     No. 2:20-cv-00993                                                     SEATTLE, WA 98104-7043
                                                                             PHONE: (206) 903-8800
                                                                             FAX: (206) 903-8820
             Case 2:20-cv-00993-RSL Document 46 Filed 09/30/20 Page 4 of 5




 1         Respectfully submitted this 29th day of September, 2020.

 2
     /s/ Shawn Larsen-Bright                          /s/ Sean T. Prosser (by email authorization)
 3   Shawn Larsen-Bright, WSBA #37066                 Sean T. Prosser, admitted pro hac vice
     Jeremy Larson, WSBA #22125                       Natalie Prescott, admitted pro hac vice
 4   Wendy M. Feng, WSBA #53590                       Mintz, Levin, Cohn, Ferris, Glovsky & Popeo
 5   Dorsey & Whitney LLP                             3580 Carmel Mountain Road, Suite 300
     701 Fifth Avenue, Suite 6100                     San Diego, CA 92130
 6   Seattle, WA 98104-7043                           stprosser@mintz.com
     (206) 903-8800                                   naprescott@mintz.com
 7   larsen.bright.shawn@dorsey.com                   and
     larson.jake@dorsey.com                           Roger D. Mellem, WSBA #14917
 8
     feng.wendy@dorsey.com                            Adam Doupe, WSBA #55483
 9   Attorneys for Interpleader Plaintiff U.S. Bank   Ryan, Swanson & Cleveland, PLLC
     National Association                             1201 Third Avenue, Suite 3400
10                                                    Seattle, Washington 98101-3034
                                                      mellem@ryanlaw.com
11                                                    doupe@ryanlaw.com
                                                      Attorneys for Interpleader Defendants
12
                                                      Quartzburg Gold, LP and Idaho State Regional
13                                                    Center, LLC

14
     /s/ Jihee Ahn (by email authorization)
15   Daniel P. Harris, WSBA #16778
     Jihee Ahn, WSBA #56012
16   Harris Bricken Sliwoski, LLP
     600 Stewart Street, Suite 1200
17   Seattle, WA 98101
18   dan@harrisbricken.com
     jihee@harrisbricken.com
19   Attorneys for Interpleader Defendants Ying
     Lin and Yun Huang
20

21

22

23

24

25

26

27
     STIPULATED MOTION FOR
     DEPOSIT AND DISCHARGE                        3               DORSEY & WHITNEY LLP
                                                                      701 FIFTH AVENUE, SUITE 6100
     No. 2:20-cv-00993                                                  SEATTLE, WA 98104-7043
                                                                          PHONE: (206) 903-8800
                                                                          FAX: (206) 903-8820
                 Case 2:20-cv-00993-RSL Document 46 Filed 09/30/20 Page 5 of 5




 1                                                ORDER

 2          Based upon the foregoing Stipulation and pursuant to applicable law, it is hereby

 3 ORDERED:

 4          a.       U.S. Bank is awarded and hereby granted leave to withdraw from the Interpleader

 5 Funds in the Escrow Account a portion of its fees and costs associated with this interpleader action,

 6 limited to a total amount of $10,000;

 7          b.       U.S. Bank is hereby granted leave to deposit the remaining $491,116 in Interpleader

 8 Funds into the registry of this Court pursuant to 28 U.S.C. § 1335;

 9          c.       The Clerk of this Court is directed to accept U.S. Bank’s deposit into the Court’s

10 registry, and to deposit these funds into an interest-bearing account at the Court’s current financial

11 institution or, alternatively, if an income-bearing account is not available, then into a non-income-

12 bearing account at the Court’s current financial institution; and

13          d.       U.S. Bank is hereby discharged from any and all liability associated with the

14 Interpleader Funds, and is hereby dismissed from this action with prejudice and without an award

15 of fees or costs to any other party.

16

17          IT IS SO ORDERED this 30th day of September, 2020.

18

19
                                                   ROBERT S. LASNIK
20                                                 UNITED STATES DISTRICT JUDGE

21

22

23

24

25

26

27
     STIPULATED MOTION FOR
     DEPOSIT AND DISCHARGE                          4                  DORSEY & WHITNEY LLP
                                                                        701 FIFTH AVENUE, SUITE 6100
     No. 2:20-cv-00993                                                    SEATTLE, WA 98104-7043
                                                                            PHONE: (206) 903-8800
                                                                            FAX: (206) 903-8820
